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Case 4:92-cv- -

IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF ARKANSAS
WESTERN DIVISION

 

 

KIMBERLY PHILLIPS OY pEAINTIER
VS. CASE NO. LR-C-92-132
TIMOTHY SUGRUE AND MARYLAND CASUALTY DEFENDANT

 

REVIVOR OF FEDERAL JUDGMENT
OR, IN THE ALTERNATIVE, MOTON TO REVIVE JUDGMENT

 

 

Comes now Kimberly Phillips, by and through her attorneys, Eubanks, Welch, Baker &

 

 

Schulze, LLP, by Morgan E. Welch the attorney of record, and for her Revivor of Federal
Judgment or in the Alternative, Motion to Revive the Judgment of this Court states as follows:

1. On November 2, 1993, a Judgment in a Civil Case was filed of record against
Timothy Sugrue. A true and correct copy of the Judgment is attached hereto, marked as Exhibit

“1” and is incorporated herein by this reference as if set forth word for word.

2. This Judgment remains unsatisfied and no sum of money has been paid on the
judgment as of this date.
3. The judgment accrued interest at a rate of three and 38/100 per cent (3.38%) per

annum and the revival of the judgment would be at the same interest rate as the original
judgment in that there is no new judgment in this matter.

4. Pursuant to Rule 81(b) and 69 of the Federal Rules of Civil Procedure, the
procedure on revival of the Judgment is to be pursuant to laws of the State where the Court is
located. McCarthy vs. Johnson, 35 F. Supp.2d 846 (D.UT 1997).

5. Arkansas Code Annotated §16-65-501 (Repl 1985) states a court “shall” revive a

Judgment at any time when a request for Revivor is made within 10 years from the date of the

entry of judgment.
 
   

Case 4:92-cv-00132-SWW Document

Petition to Revive Judgment

 

6, Under Arkansas case law, the seeking of a revival of a judgment is not a new
action but a continuation of the original action and no new Summons needs to he issued. See
Bohnsack vs. Beck, 294 Ark. 19, 740 S.W.2d 611 (1987).

7. The Judgment is not yet 10 years old, therefore, this Court should revive the
Judgment according to Arkansas law.

WHEREFORE, the Plaintiff prays this Court issue an Order reviving the Judgment of this
Court which was entered against Timothy Sugrue on November 2, 1993, and for any other relief
to which she may be entitled.

Respectfully Submitted,
EUBANKS, WELCH, BAKER & SCHULZE, LLP
P. O. Drawer 3685

Little Rock, AR 72203~3685
(501) 537-1000

a A LK lela

Donald K, Campbell, ITI °
ASCR No. 84017

 

CERTIFICATE OF SERVICE

I, Donald K. Campbell, UI, do hereby certify that the forgoing document was depositeg
into the U. S. Post Office Box located at 620 West Third Street, Little Rock, AR on this FT Lh
day of June, 2003, with sufficient postage prepaid to assure delivery to the following:

Paul McNeitl Ken Cook

WOMACK, LANDIS, PHELPS, Armstrong Allen
McNEILL & McDANIEL Suite 100

P.O. Box 3077 {00 Morgan Keegan Drive

Jonesboro, AR 72403 Little Rock, AR 72202

Donald K. Campbell, :
 
  

Case 4:92-cv-00132- WW

AO 450 Rev. 3) 5/85) Judgment in a Civil Cass

 

United States District Couct.

 

 

 

EASTERN DISTRICT OF ARKANSAS ~
KIMBERLY PHILLIPS JUDGMENT IN A CIVIL CASE
v.

TIMOTHY SUGRUE and MARYLAND CASUALTY

CASE NUMBER: LR-C-92~132

fx) dury Verdict. This action came before the Court for a trial by jury, The issues have been tried and the jury has rendered
its verdict.

 

L! Decision by Court. This action came to trial or hearing before the Court. The issues have been tied or heard and a
decision has been rendered,

IT 1S ORDERED AND ADJUDGED

Judgment is entered in favor of the plaintiff against defendant Timothy Sugrue in
the amount of $506,325 in compensatory damages and $1,000,000.00 in punative damages.

Judgment is entered in favor of Maryland Casualty (Marist Fathers of Washington
Province) and against the plaintiff.

Interest shall accrue at the rate of 3.38% per annum.

Each side snall bear their own costes.

EXHIBIT

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Novemoer 2, 1993

 

Date

    
 

Tras DOCUNE: IT ENTERED ON DOCKET SHEET IN

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(By) Deputy Clerk .
